        Case 4:17-cr-00293-BSM Document 2318 Filed 12/13/21 Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                   CENTRAL DIVISION

UNITED STATES OF AMERICA                                                                PLAINTIFF

VS.                            CASE NO. 4:17-cr-00293-BSM

MARCUS O. MILLSAP, ET AL                                                            DEFENDANTS


          DEFENDANT’S SECOND MOTION FOR EXTENSION OF TIME
       TO FILE OBJECTIONS TO PRESENTENCE INVESTIGATION REPORT


       COMES NOW the Defendant, Marcus O. Millsap, by and through the undersigned counsel

and for his Second Motion for an Extension of Time to File Objections to the Presentence

Investigation Report states:

       1.      Counsel for the Defendant received the first draft of the Presentence Investigation

Report (PSR) in this case on November 22, 2021. The Court previously entered an Order extending

the time for Defendant to file his objections to the PSR to December 13, 2021.

       2.      The undersigned counsel requests additional time to meet with the Defendant, to

determine if there are any valid objections to the PSR, and to submit them to the USPO and USAO.

       3.      Defendant’s Counsel requests an extension of time to submit objections to the PSR,

until December 20, 2021.

       4.      This motion is not submitted for any improper purpose or to cause unneeded delay.

       WHEREFORE, the Defendant asks that this Court allow counsel until December 20, 2021,

to submit objections to the PSR and for all other just and proper relief to which he may be entitled.
Case 4:17-cr-00293-BSM Document 2318 Filed 12/13/21 Page 2 of 2




DATED: December 13, 2021.

                                   RESPECTFULLY SUBMITTED,

                                   GIBSON & KEITH, PLLC
                                   Attorneys for Defendant
                                   119 South Main Street
                                   Monticello, AR 71655
                                   Phone: (870) 367-2438
                                   Fax: (870) 367-8306

                            By: _____________________________________
                                  Lee D. Curry      Ark. Bar No. 2014153
                                  ldc@gibsonandkeith.com




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